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                IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEW JERSEY


 CHRISTINE CONFORTI,
                                                   Case No. 3:20-cv-08267
                 Plaintiff,
       v.

CHRISTINE GIORDANO HANLON, in her
official capacity as Monmouth County Clerk,
SCOTT M. COLABELLA, in his official
capacity as Ocean County Clerk, and PAULA
SOLLAMI COVELLO, in her official capacity
as Mercer County Clerk,

                 Defendants.




        DEFENDANT HON. PAULA SOLLAMI COVELLO’S BRIEF
        IN SUPPORT OF MOTION TO DISMISS THE COMPLAINT


                                          GENOVA BURNS LLC
                                          494 Broad Street
                                          Newark, New Jersey 07102
                                          Telephone: 973-533-0777
                                          Fax: 973-533-1112
                                          Counsel for Paula Sollami Covello


 Of Counsel and On the Brief:
 Angelo J. Genova, Esq. (005501979)
 Jennifer Borek, Esq. (041131997)

 On the Brief:
 Christopher Zamlout, Esq. (302652019)
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                           PRELIMINARY STATEMENT
       Through this action, plaintiff Christine Conforti (“Plaintiff”) seeks to have

 this Court declare that the longstanding practices of counties and county clerks in

 preparing for primary and general elections violate the United States and New Jersey

 Constitutions. However, the practices complained of – specifically, the ballot

 design, candidate ballot placement drawing, and the placement of candidates and

 bracketing procedures – have long been upheld despite numerous challenges. And

 although courts have held that equitable doctrines preclude late-filed constitutional

 challenges to elections rules, Plaintiff filed this federal court action on the eve of the

 July 7, 2020 primary election, long after ballots were printed, urging this Court to

 invalidate these practices.

       Even though she had ample time to challenge the ballot design prior to the

 July primary – the ballot draw occurred on April 9, 2020 - Plaintiff rested on her

 rights. As such, she does not and cannot satisfy the standing requirements necessary

 to properly invoke this Court’s jurisdiction under Article III of the U.S. Constitution.

 That begins and ends this Court’s inquiry as to all of Plaintiff’s claims and makes

 any further proceedings in this case unnecessary. Even if jurisdiction was not an

 absolute bar, Plaintiff’s claims are stale and have become moot as a result of the

 certification of the primary election results and the completion of the general

 election. Because Plaintiff has not been a candidate in any race in the State of New



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  Jersey since her unsuccessful race in the July primary, her claims are moot.

           Even if the Court were to reach the merits of Plaintiff’s claims, the United

  States Supreme Court in its Eu v. San Francisco County Democratic Central

  Committee decision, laid the groundwork for subsequent decisions that the States

  may not impinge on the various political parties’ freedom of association, including

  ballot placement. Such State laws may control the manner of preparation of the

  ballot, so long as they do not prevent a qualified elector from exercising his

  constitutional right to vote for any person he chooses. For all these reasons, the

  Complaint should be dismissed.

             STATEMENT OF FACTS AND PROCEDURAL HISTORY1

           A.    Parties

           Plaintiff is a federal candidate who ran for the U.S. House of Representatives

  in New Jersey’s Fourth Congressional District in connection with New Jersey’s July

  7, 2020 Democratic Primary Election.2 (Plaintiff’s Complaint (“Pl. Comp.”), Dkt.

  No. 1, ¶ 16.) Defendant Hon. Paula Sollami-Covello (“Covello”) is the Mercer

  County Clerk (Id., ¶19). Defendant Hon. Christine Giordano Hanlon (“Hanlon”) is

  the Monmouth County Clerk (Id., ¶17), and defendant Hon. Scott M. Colabella


  1
      The Statement of Facts and Procedural History are combined for judicial efficiency.
  2
   Plaintiff’s allegations in the Complaint are assumed to be true for the purpose of
  Covello’s motion to dismiss only, pursuant to the standard of review for such a
  motion under Fed. R. Civ. Proc. 12(b)(6).

                                              2
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  (“Colabella”) is the Ocean County Clerk (Id. ¶18).

        B.     Background of New Jersey’s Statutory Framework for Ballot
               Placement

        New Jersey organizes its primary election ballots through a grid of rows and

  columns, with the specific placement of the offices sought and the candidates for

  those offices varying by County. See N.J.S.A. 19:49-2. A candidate’s placement on

  the ballot depends on various factors including, but not limited to, endorsements

  from county political party committees, affiliation with other candidates for the same

  office or others, and a ballot drawing conducted by the County Clerk. See N.J.S.A.

  19:23-6, 19:23-18, and 19:23-24.

        New Jersey law requires candidates who want to bracket with candidates

  running for other offices to file a joint petition with the County Clerk. (Pl. Comp., ¶

  30; N.J.S.A. 19:23-18; N.J.S.A. 19:49-2.) N.J.S.A. 19:49-2 sets forth the specific

  procedure for bracketing. Candidates who file petitions with the Municipal Clerk or

  with the Secretary of State must, within 48 hours of the petition filing deadline,

  request permission from the campaign manager of joint petition county candidates

  to be bracketed with those joint petition county candidates.3 (Pl. Comp., ¶ 31.) Upon

  notification of the request, the campaign manager has 48 hours to grant permission

  to bracket with the joint petition county candidates. Candidates for other offices that


  3
   N.J.S.A 19:23-6 sets forth which candidates running for which office must file their
  nominating petitions with the Municipal Clerk, County Clerk, or Secretary of State.

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  submit petitions with the County Clerk are also able to bracket with the joint petition

  county candidates. (Id.) Successfully bracketed candidates will be featured on the

  same column of the ballot with the same slogan. (Id., ¶32.)

        The clerk will then conduct a drawing to determine the order of the ballot, the

  procedures of which are dictated by N.J.S.A. 19:23-24. The County Clerk has

  discretion as to which office to draw first for ballot positioning (i.e., Governor,

  United States Senate, etc.) The office which the County Clerk chooses to draw first,

  is referred to by Plaintiff as the “pivot point.” (Pl. Comp., ¶26.) “All candidates who

  shall file a joint petition with the county clerk of their respective county and who

  shall choose the same designation or slogan shall be drawn for position on the ballot

  as a unit and shall have their names placed on the same line of the voting machine.”

  N.J.S.A. 19:23-24. Thus, once one of the bracketed candidates – the pivot point - is

  placed on the ballot, all other candidates in that bracketed slate will be automatically

  placed in the same column, including those running for other offices. (Pl. Comp.,

  ¶31.) The County Clerk then draws for the second position and so on. N.J.S.A.

  19:23-24.

        Once the initial ballot draw for the pivot point office has taken place, then a

  series of ballot draws take place between remaining candidates for the other offices

  who were not bracketed with a pivot point candidate. These candidates are not

  eligible to receive the first ballot position and will be placed further to the right (or



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  further to the bottom) of the ballot than the bracketed candidates running for the

  same office. (Pl. Comp. ¶36.)

        Plaintiff specifically challenges the procedures delineated by N.J.S.A. 19:23-

  24 – although expressly stated in the Complaint as a challenge to the processes used

  by the County Clerks – and claims that the statute creates an unfair framework

  whereby certain candidates are automatically guaranteed more favorable ballot

  placement, on the “pivot point,” due to their bracketing. (See Pl. Comp., ¶ 35. )

  Plaintiff summarizes her allegations to the unconstitutionality of N.J.S.A. 19:23-24

  in the following manner:

        unbracketed candidates have often been relegated to a ballot placement
        where they are (a) placed multiple columns away from the bracketed
        candidates, (b) stacked in the same column as another candidate for the
        exact same office, and/or (c) placed in the same column as candidates
        with whom they did not request to bracket and who requested a
        different ballot slogan. These candidates are harder to find in such
        obscure portions of the ballot commonly known as “Ballot Siberia” and
        otherwise appear less important, further confusing voters.

  (Pl. Comp. ¶ 35.) Plaintiff alleges that bracketing and the procedure for the ballot

  draw leads to unequal, and preferential ballot placement. (Id. at 38.)

        C.     Plaintiff’s Candidacy

        On or about March 30, 2020, Conforti filed a petition with the Secretary of

  State’s Office so that her name would appear on the 2020 Democratic Primary

  Election ballot in New Jersey’s Fourth Congressional District, which includes

  portions of Mercer, Monmouth, and Ocean Counties, to run against incumbent


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  Republican Congressman Christopher Smith. (Pl. Comp. ¶58.) Each County Clerk’s

  Office conducted a ballot draw on April 9, 2020. (Id. ¶59.)

        Plaintiff ran against two other candidates for the Democratic slot: Stephanie

  Schmid (“Schmid”) and David Applefield (“Applefield”). (Pl. Comp., ¶¶ 60, 65, 69.)

  Plaintiff won the Democratic party endorsement in Mercer County, defeating

  Schmid and Applefield. See, New Jersey Policy Perspective, Does the County Line

  Matter? An Analysis of New Jersey’s 2020 Primary Election Results (Aug. 13, 2020)

  https://www.njpp.org/publications/report/does-the-county-line-matter-an-analysis-

  of-new-jerseys-2020-primary-election-results/ (“Does the County Line Matter?”).4

  Plaintiff was therefore listed in the first column in Mercer County. (Pl. Comp., ¶ 69.)

  Plaintiff alleges that she “was required to bracket with other candidates whom she

  did not wish to associate with in order to protect her ballot position” and that she

  “was placed in the same column as Schmid, even though she is running against her.”5

  (Pl. Comp. ¶¶ 69-70.)

        The Monmouth and Ocean County Clerks’ offices drew for ballot position


  4
    In deciding a Rule 12(b)(6) motion, a court may go outside the complaint to
  consider matters of public record. Mayer v. Belichick, 605 F.3d 223, 230 (3d Cir.
  2010), cert denied, 562 U.S. 1271 (2011).
  5
   Mercer County Democratic Party bylaws allow all candidates that receive at least
  40% of the vote at the party’s endorsement convention to appear on the county line.
  Schmid was also able to hit the 40% threshold, but Plaintiff received a larger
  percentage of the convention votes and the endorsement, so was listed first. Id.


                                            6
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  based on U. S. Senate candidates first. (Pl. Comp. ¶¶ 61, 66.) Schmid won the

  Monmouth County Democratic endorsement and Ocean County Democratic

  endorsement, and therefore received the first line on the ballot in both counties. (Pl.

  Comp., ¶62, 67; Does the County Line Matter, supra.) Conforti was listed on the

  fourth line in both Monmouth and Ocean counties. (Id., ¶64, 68.) Applefield did not

  receive any endorsements from the county democratic committees in the fourth

  congressional district and, as such, was not placed on the county line on any of the

  county ballots. (Pl. Comp., ¶¶ 60, 65, 69.)

        Plaintiff was ultimately unsuccessful in her bid to be the Democratic candidate

  to challenge incumbent Christopher Smith, losing to Schmid. Although Plaintiff

  won Mercer county, receiving 57% of the vote, Schmid won Monmouth and Ocean

  counties, receiving 70% and 77% of the vote, respectively.6

        D.     Plaintiff’s Complaint
        On July 6, 2020, the eve of the primary election, Plaintiff brought this federal

  action against Hanlon, Colabella and Covello, challenging various provisions of

  N.J.S.A. §§ 19:23-6; 19:23-18; 19:23-24; and 19:49-2 (the “Election Laws”).

  Specifically in the context of primary elections Plaintiff asserts that the processes



  6
   See New Jersey Policy Perspective, Does the County Line Matter? An Analysis
  of New Jersey’s 2020 Primary Election Results (Aug. 13, 2020)
  https://www.njpp.org/publications/report/does-the-county-line-matter-an-analysis-
  of-new-jerseys-2020-primary-election-results/

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  resulting from Election Laws are unconstitutional: (1) ballots designed by columns

  or rows, rather than by office sought; (2) ballot draws that do not include a separate

  drawing for every office and where every candidate running for the same office does

  not have an equal chance at the first ballot position; (3) positioning candidates on

  the ballot automatically based upon a ballot draw among candidates for a different

  office; (4) placement of candidates such that there is an incongruous separation from

  other candidates running for the same office; (5) placement of              candidates

  underneath another candidate running for the same office, where the rest of the

  candidates are listed horizontally; or to the side of another candidate running for the

  same office, where the rest of the candidates are listed vertically; and (6) bracketing

  candidates together on the ballot such that candidates for different offices are

  featured on the same column (or row) of the ballot. (Pl. Comp. ¶ 123; N.J.S.A. §§

  19:23-6; 19:23-18; 19:23-24; and 19:49-2.)

        Plaintiff claims that the above procedures and Election Laws violate her right

  to vote, right to free speech, and her freedom of association under both the United

  States and New Jersey Constitutions, with a claim of vote dilution (Counts I, III, IV,

  and VI ). Further, Plaintiff claims violations to her right to equal protection under

  both Constitutions (Counts II and V). Finally, Plaintiff claims a violation of the New

  Jersey Civil Rights Act, pursuant to N.J.S.A. § 10:6-2(c) in Count VII.




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                                 LEGAL ARGUMENT

        I.     LEGAL STANDARD
        To survive a motion to dismiss under Rule 12(b)(6), a complaint must “state

  a claim to relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678

  (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). Although a

  court must “take all of the factual allegations in the complaint as true,” id. (citing

  Twombly, 550 U.S. at 555), “[f]actual allegations must be enough to raise a right to

  relief above the speculative level.” Twombly, 550 U.S. at 555. Thus, in reviewing a

  Rule 12(b)(6) motion to dismiss, courts should “disregard rote recitals of the

  elements of a cause of action, legal conclusions, and mere conclusory statements.”

  James v. City of Wilkes-Barre, 700 F.3d 675, 679, 681 (3d Cir. 2012).

        The standard of review for election law challenges that allege constitutional

  violations is set forth in Anderson v. Celebrezze, 460 U.S. 780, 789, 103 S. Ct. 1564,

  75 L. Ed. 2d 547 (1983).

        “[T]he strict scrutiny, intermediate scrutiny, and rational basis categories

  represent a convenient and familiar linguistic device by which courts . . . have

  characterized their review. Anderson [however] promulgated a less categorical

  system of classification . . . Put another way, ballot access cases should not be pegged

  into the three aforementioned categories. Rather, following Anderson, [the Court's]

  scrutiny is a weighing process.” Rogers v. Corbett, 468 F.3d 188, 194 (3d Cir. 2006)



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  (citation omitted); Anderson, 460 U.S. at 789.

        Accordingly, in reviewing Plaintiff’s complaint, the Court must consider

  "what burden is placed on the rights which plaintiffs seek to assert and then balance

  that burden against the precise interests identified by the [S]tate and the extent to

  which these interests require that plaintiffs’ rights be burdened. Only after weighing

  these factors can [the Court] decide whether the challenged statute is

  unconstitutional.” Democratic-Republican Org. v. Guadagno, 900 F. Supp. 2d 447,

  452 (D.N.J. 2012), aff'd, 700 F.3d 130 (3d Cir. 2012).

  II.   PLAINTIFF DOES NOT HAVE STANDING.

        This Court should reject Plaintiff’s claims without reaching the merits because

  she did not challenge the Election Laws until after the primary concluded and thus

  does not have standing. Article III standing is necessary for each form of relief

  sought by Plaintiff. Friends of Earth, Inc., 528 U.S. 167, 185 (2000). To properly

  invoke federal jurisdiction, a plaintiff must demonstrate that (1) they are under an

  actual threat of suffering a concrete and particularized injury in fact to a legally

  protected interest that is “concrete and particularized;” (2) the injury is fairly

  traceable to the defendant’s conduct; and (3) it is likely that a favorable judicial

  decision will prevent or redress the injury. Summers v. Earth Island Inst., 555 U.S.

  488, 493 (2009); Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992); Spokeo, Inc.

  v. Robins, 136 S. Ct. 1540, 1547 (2016). Unsubstantiated allegations of “possible



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  future injury” are not sufficient to satisfy Article III. Reilly v. Ceridian Corp., 664

  F.3d 38, 42 (3d Cir. 2011). Nor are injuries that are “conjectural or hypothetical.”

  Robins, 136 S. Ct. 1540 at 1548.

        Here, Plaintiff is under no actual threat of suffering a concrete and

  particularized injury in fact to a legally protected interest. Plaintiff fails to allege

  any threat to any legally recognized protected interest, as detailed in Section III

  below. Indeed, because the July 7, 2020 primary election was conducted and the

  results certified, Plaintiff suffers no threat of any injury. Plaintiff was unsuccessful

  in her race for the Democratic primary for U.S. House New Jersey District 4. The

  certified results reflect that Plaintiff lost the Democratic nomination. This “injury”

  cannot be fairly traceable to Defendants conduct – Plaintiff could have lost the

  election for any number of reasons not associated with the ballot drawing or her

  ultimate placement on the ballot. It may very well be such that Plaintiff lost the

  primary election due to a lack of public support. Plaintiff’s allegations that obtaining

  the first ballot position is directly related to favorable election results is purely

  conjecture and would require this Court to prophesize that Plaintiff would have been

  successful against Stephanie Schmid but for her ballot position – a conclusion that

  is not alleged in the Complaint.

        Finally, a favorable decision for Plaintiff would not prevent or redress the

  injury. Should the Court agree with Plaintiff, and grant the declaratory judgment



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  and permanent injunction sought, these measures provide no recourse for Plaintiff

  as both the primary and the general election have been completed. The results of the

  primary election have long been certified. In fact, the general election results are

  now even certified, with Christopher Smith, the republican candidate, winning the

  U.S. House seat.7 Plaintiff fails to plead facts sufficient to satisfy the standing

  requirement; instead, Plaintiff merely provides speculative theories on her loss.

        Specifically, with respect to claims against Covello, Plaintiff actually won the

  Democratic line in Mercer County and was listed in the first column. See Plaintiff’s

  Complaint, Exhibit A, pg. 67. Since Schmid was also able to hit the 40% threshold,

  she and Plaintiff were both included on the Mercer County line, but Plaintiff was

  listed first. Does the County Line Matter?, supra. Thus, with regard to Covello,

  Plaintiff’s claim of injury is even more speculative, and falls well short of alleging

  facts to establish standing.

        III.   PLAINTIFF’S CLAIMS ARE MOOT.
        Plaintiff seeks an injunction to permanently enjoin the current ballot draw

  processes and ballot design for primary elections, but as of the date of this filing,

  both the primary and general election have occurred, and Plaintiff is no longer a

  candidate. Thus the issues presented by Plaintiff are no longer “live.” A case



  7
    If the Court were to grant the relief sought by Plaintiff, it would do nothing to
  impact the general election in which the democratic candidate was unsuccessful.

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  becomes moot when the issues presented are no longer live, or there is no longer an

  actual or ongoing “case or controversy” between the parties, and neither party has a

  legally cognizable interest in the final determination of the underlying questions of

  fact and law. See Los Angeles County v. Davis, 440 U.S. 625, 631 (1979); Powell v.

  McCormack, 395 U.S. 486, 496 (1969); Donovan v. Punxsutawney Area Sch. Bd.,

  336 F.3d 211, 216 (3d Cir. 2003). Because the availability of relief “lies at the very

  heart of the mootness doctrine,” and because the case must remain “live” throughout

  all stages of litigation, when events occur that deprive a court of its ability to grant

  the requested relief, the case must be dismissed as moot. Donovan, 335 F.3d at 211.

        Here, Plaintiff sat on her rights until after she failed to receive the party’s

  nomination and on the eve of losing the primary.8 Because she is no longer a

  candidate, her claims are no longer live and there is no actual or ongoing case or

  controversy. The procedures and statutes which Plaintiff seeks to have declared

  violative of the United States and New Jersey Constitutions no longer apply to her

  and must be dismissed as moot.


  8
    Courts have also denied late filed election claims as barred by laches and/or
  estoppel if a suit was filed after the close of a nomination period, or an election day
  for example. See, e.g., Perry v. Judd, 471 F. App’x 219 (4th Cir. 2012) (claim barred
  where candidates challenged law governing circulation of candidate petitions after
  deadline for petitions); Kay v. Austin, 621 F.2d 809, 813 (6th Cir.1980) (claim barred
  where candidate waited to file suit until two weeks after not being listed on ballot).
  The Perry Court reasoned that a candidate cannot choose to sit on his rights to
  challenge a provision until after receiving an unfavorable result. Perry at 224.


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        IV.    PLAINTIFF FAILS TO STATE A CLAIM.

        Should this Court find that Plaintiff does, in fact, have standing to bring her

  claims and that they are not moot, the Complaint must still be dismissed on the merits

  because Plaintiff has failed to set forth facts to support any cognizable claim under

  New Jersey or federal constitutional or election law.

        First, this Court must defer to the county clerk’s exercise of discretion under

  the election laws. In reviewing N.J.S.A. 19:49-2, the New Jersey Supreme Court

  held that the decision on how to structure the drawing as between bracketed and

  independent candidates rested with the county clerk. Hawkes v. Gates, 129 N.J.L. 5

  (1942). And, while a clerk’s discretionary action is not “beyond judicial approval,”

  the Court has stated that “it is not for a court to choose one of several reasonable

  courses, for that choice is precisely what the Legislature left to another”; rather, the

  court would only act “if it clearly appears the course taken is not rooted in reason….”

  Richardson v. Caputo, 46 N.J. 3, 9 (1965) (citing, United Hunters Ass'n v. Adams,

  36 N.J. 288 (1962)).

        A clerk’s discretion has consistently been upheld in New Jersey. “The county

  clerk is given a wide discretion in these matters, and that the court will not interfere

  with the exercise of that discretion unless clearly unreasonable, is well established.”

  Farrington v. Falcey, 96 N.J. Super. 409, 414 (App. Div. 1967). Indeed, “there can

  be no doubt about the authority of the Legislature to adopt reasonable regulations



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  for the conduct of primary and general elections. Such regulations, of course, may

  control the manner of preparation of the ballot, so long as they do not prevent a

  qualified elector from exercising his constitutional right to vote for any person he

  chooses.” Quaremba v. Allan, 67 N.J. 1, 11 (1975) (citing Rose v. Parker, 91 N.J.L.

  84, 86 (Sup. Ct. 1917)).

        In Quaremba, plaintiffs’ principal criticism was of the county clerk's refusal

  to structure the ballot in the form of a single column with the names of the candidates

  for each office, affiliated and non-affiliated, following each other in the sequence

  determined by a drawing, and these in turn followed by a similar listing of candidates

  for the next office and so on. Quaremba v. Allan, 67 N.J. 1, 10 (1975). Under that

  proposal, the names of those who had filed a joint petition for different offices and

  those who had affiliated with them, although appearing in a single column, would

  be separated from each other by the names of unaffiliated candidates seeking the

  same offices. Id. The Court reviewed that proposal and held that there was “no merit

  to plaintiffs’ contention that the ballots should be structured as they suggest. Indeed,

  such a separation of the names of those affiliated candidates – unless they consent

  thereto – would be contrary to the legislative purpose evident in N.J.S.A. 19:49-2.

  67 N.J. at 6; see, Harrison v. Jones 44 N.J. Super. 456, 461 (App. Div. 1957).9


  9
    Even in other jurisdictions, similar challenges to a State’s ballot design and
  bracketing procedures have been unsuccessful. See Sarvis v. Alcorn, 826 F.3d 708


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        Here, Plaintiff criticizes New Jersey’s ballot system and claims that it

  “systematically prevent[s] unbracketed candidates from having any opportunity to

  ever be listed in the first column on the primary election ballot, resulting in a serious

  electoral disadvantage.” Pl. Comp., ¶ 54. While not expressly advocating for a

  similar ballot design to that of the plaintiff in Quaremba, to achieve Plaintiff’s

  desired design the ballot would need to be constituted in a similar way. And

  although the Quaremba Court held that “the county clerk must act in good faith and

  may not intentionally discriminate against any candidate or group of candidates.”

  Quaremba, 67 N.J. at 16, Plaintiff does not allege here that the county clerks acted

  in bad faith or intentionally discriminated against anyone.

        Specifically, and as set forth in more detail below, Plaintiff cannot establish a

  claim that that the ballot drawing and design processes violated Plaintiff’s right to

  vote, freedom of association, freedom of speech, or equal protection rights, or that

  they constituted vote dilution. In Eu v. San Francisco County Democratic Central

  Committee, 489 U.S. 214 (1989), the United States Supreme Court held that parties

  and political organizations enjoy freedom of association protected by the First and


  (4th Cir. 2016) (court found that Virginia’s tiered ballot law imposed modest burdens
  on Constitutional rights but, because all parties were subject to the same state law,
  the proportional nondiscrimination of the application of the law was upheld); Walsh
  v. Boyle, 179 A.D. 582 (First Dept. 1917) (holding that it is improper for the judiciary
  to force a ballot ordering); Mintz v. Cuomo, 45 N.Y. 2d 918 (1978) (appellate court
  restored an original ballot design after the lower court improperly reordered the
  ballot).

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  Fourteenth Amendments, and these rights mean not only that an individual voter has

  the right to associate with the political party of his choice, but also that “a political

  party has the right to identify the people who constitute the association,” and to

  select a “standard bearer who best represents the party's ideologies and preferences.”

  Eu, at 224 (internal citations omitted). The Eu Court’s precedence laid the

  groundwork for subsequent decisions that established not only that the State could

  take party affiliation into consideration when designing the ballot, but that it was

  constitutionally impermissible to ban this type of affiliation absent a compelling state

  interest. In Eu, the Court found no compelling state interest, as the state made no

  showing that voters were unduly influenced by party endorsements or that such a

  ban was necessary to ensure an election that was orderly and fair. Eu, 233-34.

        This precedence has been followed in New Jersey as well. Courts have plainly

  stated that “States may treat candidates affiliated with political parties differently

  than unaffiliated candidates.” Guadagno, 900 F. Supp. 2d at 456. In fact, in

  Guadagno, the District Court for the District of New Jersey, reviewed a challenge

  very similar to that of Plaintiff, in the general election context, and held:

        placing political party candidates on the left side of the ballot and all
        other candidates on the right side does not violate Plaintiffs'
        constitutional rights. These statutes impose, at most, a minimal burden
        on Plaintiffs' ballot access. Because the Plaintiffs' burden, if any, is
        negligible, any reasonable regulatory interest provided by the State will
        ensure the statutes' constitutionality under Anderson. Council of
        Alternative Political Parties v. Hooks, 179 F.3d 64, 78 (3d Cir.1999)
        … Here, the State has explained that the statute is grounded in the

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        integrity of the election process by ensuring that voters can clearly
        identify which candidates are affiliated with political parties.

  Id. at 458, aff'd, 700 F.3d 130 (3d Cir. 2012).

        Thus, the Court should dismiss Plaintiff’s complaint and defer to the actions

  of the county clerks in accordance with Title 19, as it is clear the regulations

  complained of are necessary to the integrity of the electoral process. See Eu, at 232.

               A.       Counts I, III, IV and VI Should be Dismissed.
        Plaintiff’s claims that that the ballot drawing and design processes violate

  Plaintiff’s right to vote and/or constitute vote dilution, freedom of association, and

  freedom of speech should be dismissed because Plaintiff fails to plead facts

  sufficient to support any alleged right and they assert constitutional violations that

  are not cognizable.

           i. Right to Vote / Vote Dilution

        Plaintiff’s constitutional right to cast her vote is not being infringed in any

  way. In fact, Plaintiff conflates the right to vote with some alleged entitlement to a

  more favorable ballot placement. Although “voting is of the most fundamental

  significance under our constitutional structure”, Burdick v. Takushi, 504 U.S. 428,

  433 (1992) (quoting Illinois Bd. of Elections v. Socialist Workers Party, 440 U.S.

  173, 184 (1979)), “[i]t does not follow ... that the right to vote in any manner and the

  right to associate for political purposes through the ballot are absolute.” Id. (citing

  Munro v. Socialist Workers Party, 479 U.S. 189, 193 (1986)). “States have a major


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  role to play in structuring and monitoring the election process, including primaries.”

  Cal. Democratic Party v. Jones, 530 U.S. 567, 572 (2000); see also Article I, Sec. 4

  of the U.S. Constitution. It necessarily follows that if a candidate's ballot access can

  be regulated by the state, see Jenness v. Fortson, 403 U.S. 431,441–42 (1971), a

  candidate's ballot placement can also be regulated, as placement is surely a less

  important aspect of voting rights than access. See, Guadagno, at 456 (citing

  Sonneman v. State, 969 P.2d 632, 638 (Alaska 1998) (“[T]he statute in question,

  however, does not restrict access to the ballot or deny any voters the right to vote for

  candidates of their choice… Instead, it merely allocates the benefit of positional bias,

  which places a lesser burden on the right to vote.”)).

        Here, Plaintiff’s right to vote was not obstructed in any way. Plaintiff does not

  claim that her position on the ballot restricted her or any voter’s access to the ballot

  or denied any voter the right to vote for any candidate of their choice. As such,

  Plaintiff’s claim under her right to vote is unfounded.

        Similarly, vote dilution based on the potential for bracketed candidates to gain

  an advantage is not a cognizable claim. Republican Party of Pa. v. Cortés, 218 F.

  Supp. 3d 396, 406–07 (E.D. Pa. 2016) (finding plaintiffs’ “vote-dilution theory is

  based on speculation”); see also Serpentfoot v. Rome City Comm’n, 426 F. App’x

  884, 887 (11th Cir. 2011); Pettengill v. Putnam Cty. R-1 Sch. Dist., Unionville, Mo.,

  472 F.2d 121, 122 (8th Cir. 1973); Powell v. Power, 436 F.2d 84, 88 (2d Cir. 1970).



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        To be sure, vote dilution can, in certain circumstances, unconstitutionally

  impinge the right to vote, but only when the law systematically or invidiously

  devalues one community’s votes as compared to otherwise similarly situated voters.

  Plaintiffs’ allegations only claim vote dilution as they relate to ballot position

  drawing and placement, which does not rise to the level of recognized dilution.10

  That is because “[t]he Constitution is not an election fraud statute,” Minn. Voters

  Alliance v. Ritchie, 720 F.3d 1029, 1031 (8th Cir. 2013) (quoting Bodine v. Elkhart

  Cty. Election Bd., 788 F.2d 1270, 1271 (7th Cir. 1986)), and does not support claims

  “premised on potential harm in the form of vote dilution caused by” election

  processes that Plaintiffs dislike, id. at 1033.

        Here, Plaintiff’s vote dilution claim is not sufficiently supported by the facts

  set forth in her complaint – she states nothing more than her own concerns that she

  may be disadvantaged due to her conscious choice not to bracket with other

  candidates. Moreover, New Jersey’s drawing and bracketing processes do not favor

  one community’s votes over another. See Short v. Brown, 893 F.3d 671, 678 (9th

  Cir. 2018) (rejecting vote dilution claim based on an improper reading of Reynolds,

  which “stand[s] for something narrower: that a state may not allocate representation


  10
     See Hennings v. Grafton, 523 F.2d 861, 864 (7th Cir. 1975) (infringements of
  voting rights found to have risen to a constitutional level include dilution of votes
  by reason of malapportioned voting districts or weighted voting systems); Reynolds
  v. Sims, 377 U.S. 533, 567 (1964) (involving a challenge to unequally apportioned
  voting districts).

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  differently based on a voter’s county of residence”). Each registered New Jersey

  voter, regardless of a candidate’s location on the ballot, can choose to vote for

  whomever they please.

        There is simply no authority for transmogrifying the vote dilution line of cases

  into a weapon that may be used by a candidate to seek a supposed favorable

  placement on the ballot, based entirely on unfounded and speculative allegations. To

  the contrary, courts have routinely and appropriately rejected such efforts. See

  Ritchie, 720 F.3d at 1031–32 (affirming Rule 12(b)(6) dismissal of vote dilution

  claim); see also Cortés, supra, 218 F. Supp. 3d at 406–07. Because Plaintiff has

  failed to allege facts that give rise to a plausible claim for relief, or even alleged a

  cognizable legal theory, Counts I and IV should be dismissed.

          ii. Freedom of Association and Speech

        Counts III and VI claim violations of Plaintiff’s constitutional rights of

  freedom of association and freedom of speech, however, Plaintiff fails to plausibly

  state a claim that her freedoms have been infringed upon in any way.11 In Schundler

  v. Donovan, the court held that “no rights guaranteed by the First Amendment are

  absolute, 377 N.J. Super. 339 (2005); see also, Tashjian v. Republican Party of


  11
     The Free Speech Clause contained within the New Jersey Constitution “is
  generally interpreted as co-extensive with the First Amendment,” so the analysis of
  a state free speech claim is identical to its federal counterpart. Twp. of Pennsauken
  v. Schad, 160 N.J. 156, 733 A.2d 1159, 1169 (1999).


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  Connecticut, 479 U.S. 208, 217-18 (1986). Even fundamental rights, such as those

  involving expressive exercises, are subject to limitation if a sufficiently compelling

  public interest exists in particular circumstances at hand. Eu v. San Francisco County

  Democratic Central Comm., 489 U.S. 214 (1989). Where a limitation on protected

  expressive interests emanates from a provision regarding elections, the test for

  compelling public interest is whether the "regulation . . . is necessary to the integrity

  of the electoral process." Id. at 232.

         The Supreme Court in Eu also recognized freedom of association enjoyed by

  political parties. 489 U.S. at 216. The Court held that political parties have a role in

  selecting their organization, claiming that “partisan political organizations enjoy

  freedom of association protected by the First and Fourteenth Amendments. Freedom

  of association means … also that a political party has a right to identify the people

  who constitute the association….” Ibid. Here, bracketing follows the principle

  established in Eu, which allows the political parties to organize in advance of

  elections as they see fit.

         As the court found in Balsam v. Guadagno, 2014 WL 2126579 (D.N.J.), “the

  freedom of association would “prove an empty guarantee if associations could not

  limit control over their decisions to those who share the interests and persuasions

  that underlie the association's being.” See Cal. Democratic Party, 530 U.S. at 574-

  75. Similarly, in Moskowitz v. Grogan, the court, relying on N.J.S.A. 19:49-2, held



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  that since one slate of delegates to a national party convention was affiliated with a

  group of county candidates, another unaffiliated slate was not entitled to a drawing

  for position on the ballot as against the affiliated slate, “for the state candidates who

  affiliate with county candidates may not be displaced from their position on the same

  line with their affiliated county candidates.” 101 N.J. Super. 111, 116 (App. Div.

  1968).

        Even if this Court found that the statutes complained of burdened Plaintiff’s

  associational rights, the burden is minimal. Plaintiff was able to choose between

  associating or not associating with other candidates, political parties, etc. and was

  able to exercise that right however she pleased. In fact, as explained above, Plaintiff

  did exercise her right to associate in Mercer County and was successful in receiving

  the first position for her race, and the endorsement in Mercer County. Plaintiff was

  never placed in the position where she was forced to associate with any other

  candidates. At all relevant times, Plaintiff was fully apprised of the bracketing

  process and had ample time to opt to bracket with other candidates to secure her

  ability to obtain the pivot point.

        Accordingly, Plaintiff’s challenges to the statutes under her freedom of

  association must fail because the State’s legitimate interests in protecting the

  associational rights of political associations, maintaining ballot integrity, avoiding

  voter confusion, and ensuring electoral fairness outweigh any burden Plaintiff



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  alleges. See, Balsam v. Guadagno, 2014 WL 2126579 (D.N.J.); Ray v. Blair, 343

  U.S. 214, 221, 222 (1952); Nader v. Schaffer, 417 F. Supp. 837, 848 (D. Conn.

  1976), aff'd, 429 U.S. 989 (1976)

        The United States Supreme Court rejected the same arguments raised by

  Plaintiff here in Cal. Democratic Party v. Jones, when it invalidated Proposition

  198, under which the voters of California had adopted to change California's

  electoral system from a closed primary to a blanket primary. 530 U.S. at 570, 582-

  86. Previously, California held a closed primary, in which only persons who were

  members of the political party were permitted to vote on its nominee. Proposition

  198 changed the system to a blanket primary, which allowed the voter to choose

  freely among candidates regardless of party affiliations. Id. Several political parties

  challenged the rule, claiming it violated their First Amendment rights of association.

  Id. The Court rejected the arguments similar to those of Plaintiff, here – stating that

  those alleged interests were not compelling.12 Id.

        Similarly, Plaintiff has failed to plead any facts establishing a burden on her

  right to freedom of speech. For a freedom of speech claim to survive a motion to

  dismiss, a plaintiff must allege that they engaged in speech protected by the First



  12
     Ultimately, the Court did overturn the blanket primary for reasons inapplicable
  here – finding that it imposed on political parties’ freedom to prevent “party raiding,”
  a process in which dedicated members of one party formally switch to another party
  to alter the outcome of that party's primary. Id.

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  Amendment and that the protected speech was limited or circumscribed in some

  way. For example, in Eu, the Supreme Court held that California’s regulation

  prohibiting primary endorsements by the official governing bodies of political

  parties directly affected speech, which was at the core of the electoral process, and

  violative of the First Amendment freedoms. 489 U.S. at 222.

        Here, there are insufficient facts in the Complaint which connect Plaintiff’s

  speech with the election statutes at issue or the outcome of the primary election.

  Plaintiff’s position on the ballot does nothing to limit her freedom to put forth any

  protected speech as a candidate or to choose to associate with any party or not. As

  such, Plaintiff’s freedom of speech and association claims must be dismissed.

               B.     Counts II and V Should be Dismissed.

        Plaintiff’s claims for Equal Protection rights violations in Counts II and V are

  equally without merit and should be dismissed.13 The Equal Protection Clause is

  essentially a directive that all individuals similarly situated should be treated alike.

  Cleburne v. Cleburne Living Center, Inc., 473 U.S. 432, 439 (1985). However, “[t]he

  state's creation of a classification is not ‘per se unconstitutional or automatically



  13
    The Supreme Court has recognized that the concept of equal protection is implicit
  in Art. I, par. I of the 1947 New Jersey Constitution. McKenney v. Byrne, 82 N.J.
  304, 316 (1980). That provision is analogous to the federal equal protection clause
  in terms of analysis, Sojourner A. v. N.J. Dep’t of Human Servs., 177 N.J. 318, 332
  (2003) and the counts will be addressed together.


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  subject to heightened scrutiny.’” Connelly v. Steel Valley Sch. Dist., 706 F.3d 209,

  213 (3d Cir. 2013) (quoting Maldonado v. Houstoun, 157 F.3d 179, 184 (3d Cir.

  1998)). Courts will, as a result, uphold a classification “so long as it bears a rational

  relation to some legitimate end” and it neither burdens a fundamental right nor

  targets a suspect class. Id.

        In the context of election law, the Courts have held that “in facilitating the

  effective operation of [a] democratic government, a state might reasonably classify

  voters or candidates according to political affiliations.” Clingman v. Beaver, 544

  U.S. 581, 594 (2005) (quoting Nader v. Schaffer, 417 F. Supp. at 845-46). Indeed, it

  has been recognized that a state does not deprive an individual of equal protection

  in drawing a distinction between affiliated and unaffiliated voters. Nader, 417 F.

  Supp. at 848; see also Balsam v. Guadagno, 2014 WL 2126579 (D.N.J.)

        At all times leading up to the election, Plaintiff was treated like all other

  candidates in the election - the ballot draw is done irrespective of the individual

  candidates themselves but, rather, for the offices for which they are running.

  Moreover, Plaintiff has failed to plead sufficient facts warranting this Court to

  scrutinize the actions taken by a county clerk. A county clerk has wide latitude in

  crafting the ballot, unless an abuse of discretion is apparent, and such discretion has

  been upheld consistently in New Jersey. See Farrington v. Falcey, 96 N.J. Super.

  409 (App. Div. 1967) (“the county clerk is given a wide discretion in these matters,



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  and that the court will not interfere with the exercise of that discretion unless clearly

  unreasonable, is well established by our decisions.).

        Plaintiffs’ equal protection challenge fails because plaintiff is not a member

  of a suspect class, nor does she allege such a membership. While she asserts that

  there is a fundamental right to vote in primaries, there is, in fact, no constitutional

  right to participate in primary elections. Cal. Democratic Party, 530 U.S. at 573 n.5;

  Consumer Party v. Davis, 633 F. Supp. 877, 888 (E.D. Pa. 1986). The Election

  Laws are therefore subject only to rational basis review, which they easily survive

  because the statutes are rationally related to the State's legitimate interests in

  protecting the associational rights of party members, maintaining ballot integrity,

  avoiding voter confusion and ensuring electoral fairness.

        As this Court knows, states are entitled to broad leeway in regulating elections

  to ensure they are carried out in a fair and efficient manner. See Rutgers University

  Student Assembly v. Middlesex County Bd. of Elections, 446 N.J. Super. 221 (App.

  Div. 2016). A court considering a challenge to a state election law must weigh “the

  character and magnitude of the asserted injury to the rights protected by the First and

  Fourteenth Amendments that the plaintiff seeks to vindicate” against “the precise

  interests put forward by the State as justifications for the burden imposed by its rule,”

  taking into consideration “the extent to which those interests make it necessary to

  burden the plaintiff's rights.” Burdick v. Takushi, 504 U.S. 428 (1992) citing



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  Anderson v. Celebrezze, 460 U.S. 780 (1983). When those rights are subjected to

  “severe” restrictions, the regulation must be “narrowly drawn to advance a state

  interest of compelling importance.” Norman v. Reed, 502 U.S. 279, 289 (1992). But

  when a state election law provision imposes only “reasonable, nondiscriminatory

  restrictions” upon the First and Fourteenth Amendment rights of voters, “the State's

  important regulatory interests are generally sufficient to justify” the restrictions.

  Anderson, 460 U.S., at 788; see also Burdick, 504 U.S., at 434.

        Here, it is undisputed that the State has an important, legitimate interest in

  ensuring an accessible ballot, which avoids voter confusion, and permits voters to

  easily identify candidates and the political parties they are affiliated with.14 Plaintiff

  fails to present any facts or allegations that the Defendants imposed any “severe”

  restrictions upon her rights.     Indeed, even if Plaintiff had, the statutes being

  challenged are narrowly drawn to advance the State’s interest.             However, in

  following the process set forth in the challenged statutes, Defendants at most

  imposed a reasonable, nondiscriminatory restriction upon Plaintiff, which are

  certainly justified by the underlying compelling interests. As such, the statutes meet

  rational basis review and Plaintiff’s Equal Protection claim must fail.


  14
    “There is surely an important state interest in requiring some preliminary showing
  of a significant modicum of support before printing the name of a political
  organization's candidate on the ballot—the interest, if no other, in avoiding
  confusion, deception, and even frustration of the democratic process at the general
  election.” Guadagno, at 456 (citing Jenness v. Fortson, 403 U.S. 431, 442 (1971)).

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               C.     Count VII Should be Dismissed.

        Finally, Plaintiff’s civil rights claims must fail as the Eleventh Amendment to

  the United States Constitution prohibits Plaintiff’s state law claims in their entirety.

        It is well-recognized that the states, state agencies and state officials acting in

  their official capacity cannot be sued under the principles of sovereign immunity and

  the Eleventh Amendment. See Will v. Michigan Dep't of State Police, 491 U.S. 58,

  69-71 (1989). “[T]he states' immunity from suit is a fundamental aspect of the

  sovereignty which the states enjoyed before the ratification of the Constitution, and

  which they retain today.” Alden v. Maine, 527 U.S. 706, 712-13 (1999) (citations

  omitted). This immunity extends to state agencies and state officers who act on

  behalf of the state, Regents of the Univ. of California v. Doe, 519 U.S. 425, 429

  (1997). Similarly, counties, county sheriff’s, county prosecutor’s offices, and

  department officials (including county clerks), in their official capacities, are entitled

  to Eleventh Amendment sovereign immunity. Johnson v. Duncan, 719 Fed. App’x

  144 (3rd Cir. 2017).

        Although the Eleventh Amendment does not bar plaintiffs from bringing suit

  for prospective injunctive relief, see Ex Parte Young, 209 U.S. 123 (1908), “[public]

  officials are immune from suits in federal court based on violations of state law,

  including suits for prospective injunctive relief under state law, unless the state

  waives sovereign immunity.” Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S.



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  89, 106 (1984); Major Tours, Inc. v. Colorel, 720. F. Supp. 2d 587, 602 (D.N.J.

  2010). Moreover, the supplemental jurisdiction statute, 28 U.S.C. § 1367, does not

  authorize district courts to exercise jurisdiction over claims against non-consenting

  States. Raygor v. Regents of the University of Minnesota, 534 U.S. 533, 541 (2002);

  see also Figueroa v. City of Camden, 580 F. Supp. 2d 390, 405 (D.N.J. 2008)

  (acknowledging that “Supreme Court has stated unequivocally that § 1367(a)” does

  not override State's sovereign immunity).

        Therefore, Plaintiff’s state constitutional claims brought under the New Jersey

  Civil Rights Act, N.J. Stat. Ann. § 10:6-2, must be dismissed because the State has

  not unequivocally waived its immunity. Edelman v. Jordan, 415 U.S. 651, 662-63

  (1974).

                                   CONCLUSION

        For the foregoing reasons, Defendant’s Motion to Dismiss should be granted.

                                         By:    /s/ Angelo J. Genova

                                                GENOVA BURNS LLC
                                                Angelo J. Genova, Esq.
                                                Jennifer Borek, Esq.
                                                Christopher Zamlout, Esq.
                                                AGenova@genovaburns.com
                                                JBorek@genovaburns.com
                                                CZamlout@genovaburns.com
                                                494 Broad Street
                                                Newark, New Jersey 07102
                                                Telephone: 973-533-0777
                                                Fax: 973-533-1112
  DATED: December 7, 2020                       Attorneys for Paula Sollami Covello


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